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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI

 UNITED STATES OF AMERICA, ex rel.
 CAMERON JEHL,

                Plaintiffs,
                                                  Case No. 3:19cv091-MPM-JMV
        vs.

 GGNSC SOUTHAVEN LLC D/B/A
 GOLDEN LIVING CENTER-
 SOUTHAVEN et al.

                Defendants.


                 DEFENDANTS ANSWER AND AFFIRMATIVE DEFENSES TO
                     PLAINTIFFS’ SECOND AMENDED COMPLAINT

       Defendants respectfully submit their Answer and Affirmative Defenses to Relator Cameron

Jehl’s (“Relator”) Second Amended Complaint (“SAC”). Any allegations, averment, contention

or statement in the SAC that is not specifically and unequivocally admitted is denied. Defendants

respond to each of the numbered paragraphs of the SAC as follows:

                                      INTRODUCTION

        1.     Defendants are without sufficient knowledge to determine where Relator resides.

As to the remainder of paragraph 1, Defendants admit that Relator purports to bring an action

under the False Claims Act (FCA) and deny that Relator is entitled to any damages or civil

penalties, and further deny each remaining allegation not expressly admitted herein.

        2.     To the extent the characterization implies that the Defendants have violated the

FCA or engaged in any wrongful conduct, the allegation is denied.

        3.     Defendants deny that they collectively owned, operated and controlled Golden

Living Center-Southaven in Southaven, DeSoto County, Mississippi (“Southaven”). Golden
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Living is a brand, not an entity. Defendants admit that GGNSC Southaven LLC ran a facility in

DeSoto County, Mississippi.

        4.     Defendants deny the allegations in this paragraph.

        5.     Defendants deny the allegations in this paragraph.

        6.     This paragraph contains legal conclusions to which no response is required. To the

extent a response is deemed necessary, Defendants deny that they engaged in any conduct that

violated the FCA.

        7.     Defendants deny the allegations in this paragraph.

                                            PARTIES

        8.     Defendants admit that Relator is Cameron Jehl but deny that he is authorized under

the FCA to file an FCA action and lacks knowledge or information sufficient to form a belief as

to the truth of the allegations contained in the remainder of the paragraph.

        9.     Defendants admit that this action is purportedly brought pursuant to the FCA, but

deny that they engaged in any acts in violation of the FCA.

        10.    Defendants lack knowledge or information sufficient to form a belief as to the truth

of the allegations contained in this paragraph.

        11.    Defendants deny the allegations in this paragraph.

        12.    Defendants deny the allegations in this paragraph.

        13.    Defendants lack knowledge or information sufficient to form a belief as to the truth

of the allegations contained in this paragraph. Furthermore, Defendants deny making false claims

to the United Sates and the State of Mississippi.

        14.    With respect to the first sentence in this paragraph, Defendants admit that GGNSC

Southaven LLC is a foreign corporation but deny that its principal place of business is 2601



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Network Boulevard, Suite 102, Frisco, TX 75034. With respect to the second sentence, Defendants

admit that GGNSC Southaven LLC did business in Mississippi and operated the Southaven facility

located at 1730 Dorchester Drive, Southaven, MS 38671. Defendants also admit that GGNSC

Southaven LLC was the licensee authorized to operate the Southaven facility at all times relevant

to this action. Defendants also admit that GGNSC Southaven LLC may be served with process

through its registered agent, Corporation Service Company, 7716 Old Canton Road, Suite C,

Madison MS 39110.

        15.    With respect to the first sentence in this paragraph, Defendants admit that GGNSC

Administrative Services LLC is a foreign limited liability company but deny that its principal place

of business is 1000 Fianna Way, Fort Smith, AR 72919. Defendants deny the second sentence in

this paragraph. With respect to the third sentence, Defendants deny that GGNSC Administrative

Services LLC was formed for the purpose of providing management and consulting services to

certain nursing facilities, including the Southaven facility in Southaven, Mississippi. With respect

to the fourth sentence in this paragraph, Defendants admit that GGNSC Administrative Services

LLC entered into an “Administrative Services Agreement” with GGNSC Southaven LLC to

provide GGNSC Southaven LLC certain contractual services, including preparing cost reports

using GGNSC Southaven LLC information generated by GGNSC Southaven LLC, but Defendants

deny that these services included recruiting, hiring, and training of GGNSC Southaven LLC

managers, including the Director of Nursing Services. Additionally, Defendants deny that GGNSC

Administrative Services LLC’s Administrative Services Agreement with GGNSC Southaven LLC

included adopting and implementing clinical and personal policies for Southaven facility; taking

steps to perform or request employment verification and background checks for all employees of

the Southaven facility, including the Director of Nursing Services; preparing Minimum Data Sets



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that were submitted to the government.        Defendants admit that in exchange for GGNSC

Administrative Services LLC’s services, GGNSC Southaven LLC paid a monthly service fee that

came, in part, from revenues GGNSC Southaven LLC received for providing care to elderly and

infirm residents at Southaven during the relevant period. Defendants admit to the allegations in

the last sentence.

        16.     With respect to the first sentence in this paragraph, Defendants admit that GGNSC

Clinical Services LLC is a foreign limited liability company but deny that its principal place of

business at 2601 Network Boulevard, Suite 102, Frisco, TX 75034. Defendants deny the second

sentence in this paragraph. Defendants admit that GGNSC Clinical Services LLC entered into a

“Clinical Services Agreement” with GGNSC Southaven LLC to provide certain contractual

services but deny that these services included recruiting and decisions to hire the Director of

Nursing Services; responsibility for oversight and supervision of the director of Nursing Services;

monitoring the day-to-day delivery of nursing services at the Southaven facility; and responsibility

for monitoring and ensuring regulatory compliance regarding the provision and delivery of

nursing services at GGNSC Southaven LLC. Defendants admit that GGNSC Southaven LLC paid

GGNSC Clinical Services LLC a monthly service fee that came, in part, from revenues GGNSC

Southaven LLC received for providing care to elderly and infirm residents at GGNSC Southaven

LLC up until May 1, 2013. Defendants admit to the allegations in the last sentence.

                          NATURE OF DEFENDANTS’ LIABILITY

        17.    This paragraph states legal conclusions as to which no responsive pleading is

required. To the extent a response is deemed necessary, Defendants deny that they committed any

conduct in violation of the FCA. Defendants deny that they jointly operated and controlled the

Southaven facility. Defendants deny each remaining allegation not expressly admitted herein.



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        18.    This paragraph states legal conclusions as to which no responsive pleading is

required. To the extent a response is deemed necessary, Defendants deny that they jointly operated

and controlled the Southaven facility. Defendants deny each remaining allegation not expressly

admitted herein.

                                 JURISDICTION AND VENUE

        19.    This paragraph states a legal conclusion as to which no responsive pleading is

required.

        20.    This paragraph states legal conclusions as to which no responsive pleading is

required. To the extent a response is deemed necessary, Defendants admit that the Southaven

facility is in Mississippi, but Defendants specifically deny that they committed any FCA violation.

        21.     Defendants deny that they all operated Southaven or engaged in any acts

proscribed by 31 U.S.C. § 3729 that would give rise to venue under 31 U.S.C. § 3732(a).

                                    LEGAL BACKGROUND

False Claims Act

        22.     Paragraph 22 contains Relator’s characterization of the FCA to which no response

is required. The FCA speaks for itself and is the best evidence of its content.

        23.    Paragraph 23 contains a quotation from the FCA, to which no response is required.

The statute speaks for itself and is the best evidence of its content.

        24.    Defendants admit only that this paragraph purports to refer to provisions of the

FCA. The FCA speaks for itself, and is the best evidence of its content.




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Medicare and Medicaid

         25.    Defendants admit that Congress enacted Title XVIII of the Social Security Act in

1965. The Social Security Act and any amendments thereto speak for themselves, to which no

response is required, and are the best evidence of their content.

         26.    Paragraph 26 contains Relator’s characterization of the Medicare program, to

which no response is required. The laws underlying the Medicare program speak for themselves

and are the best evidence of their content.

         27.    Defendants admit that the Medicare program is administered through the United

States Department of Health and Human Services (“HHS”) and Centers for Medicare and

Medicaid Services (“CMS”).

         28.    Paragraph 28 contains Relator’s characterization of CMS Form 1561, to which no

response is required. Additionally, Defendants deny signing a CMS Form 1561.

         29.    Defendants admit that Medicaid was created at the same time as Medicare in 1965

when Title XIX was added to the Social Security Act. The Social Security Act, Medicare program,

and Medicaid program and any amendments thereto speak for themselves and are the best evidence

of their content.

         30.    Paragraph 30 contains Relator’s characterization of Medicaid program, to which

no response is required.

         31.    Paragraph 31 contains Relator’s characterization of the Medicaid program, to

which no response is required.

         32.    Paragraph 32 contains Relator’s characterization of the Medicaid program, to

which no response is required.

Nursing Home Reform Act and Accompanying Regulation



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         33.   Paragraph 33 contains Relator’s general characterization of the Medicare program

and the Nursing Home Reform Act (“NHRA”), to which no response is required. To the extent

those characterizations are based upon statutes or regulations, those statutes or regulations speak

for themselves and are the best evidence of their content.

         34.   Defendants admit only that this paragraph purports to refer to provisions of the

NHRA. The NHRA speaks for itself, to which no response is required, and is the best evidence of

its content.

         35.   Defendants admit only that this paragraph purports to refer to provisions of the

NHRA. The NHRA speaks for itself, to which no response is required, and is the best evidence of

its content.

         36.   Paragraph 36 contains the Relator’s characterization of law, to which no response

is required.

         37.   Paragraph 37 contains the Relator’s characterization of law, to which no response

is required.

                                  FACTUAL ALLEGATIONS

         38.   Defendants admit that GGNSC Southaven LLC is a nursing facility that provides

care to individuals in the need of nursing care and treatment. Defendants admit that approximately

140 patients could receive care at any point in time at GGNSC Southaven LLC in 2013 and 2014.

         39.   Defendants deny that CMS first certified Defendants as a participating provider in

1989. To the extent that paragraph 39 quotes from a document, that document speaks for itself.

Defendants admit that there were GGNSC Southaven LLC patients who received healthcare

services in 2013 and 2014 that were reimbursable through Medicare and/or Medicaid.




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        40.    Defendants are without knowledge or information sufficient to form a belief as to

the truth of paragraph 40.

        41.    Defendants deny that GGNSC Southaven LLC executed a Provider Agreement with

the United States. Defendants also deny the allegations in the remainder of the paragraph. To the

extent that paragraph 41 quotes from a document, that document speaks for itself.

        42.    Defendants deny the allegations in this paragraph. Specifically, Defendants deny

that GGNSC Southaven LLC executed a Provider Agreement with Mississippi. To the extent that

paragraph 42 quotes from a document, that document speaks for itself.

        43.    Defendants deny the allegations in this paragraph. To the extent that paragraph 43

quotes from the Mississippi Medicaid Plan, the Plan speaks for itself.

        44.    Defendants deny the allegations in this paragraph.

        45.    Defendants deny that GGNSC Administrative Services submitted Minimum Data

Sets to CMS. The second sentence of Paragraph 45 is a characterization regarding Minimum Data

Sets, to which no response is required.

        46.    Defendants lack knowledge or information sufficient to form a belief as to the truth

of the allegations contained in this paragraph.

        47.    Defendants deny the allegations in this paragraph.

        48.    Defendants deny that they all had a role in submitting the Minimum Data Set.

GGNSC Administrative Services acquired a software product through which facilities like

Southaven submitted Minimum Data Sets. GGNSC Clinical had no role in the Minimum Data

Sets. To the extent that paragraph 48 quotes from a document, that document speaks for itself.




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        49.    The first two sentences of Paragraph 49 are denied. As to the third and fourth

sentences, the language in the cost report speaks for itself, to which no response is required, and

is the best evidence of its content.

        50.    The first two sentences of Paragraph 50 are denied. As to the third and fourth

sentence, the language in the cost report speaks for itself, to which no response is required, and is

the best evidence of its content.

        51.    Defendants deny the allegations in this paragraph.

        52.    Defendants deny the first sentence of paragraph 52. As to the second sentence of

paragraph 52, the language in the cost report speaks for itself, to which no response is required,

and is the best evidence of its content.

        53.    Defendants deny the allegations in this paragraph.

        54.    Defendants deny the allegations in this paragraph.

        55.    Defendants deny the allegations in this paragraph.

        56.    Defendants deny the allegations in this paragraph.

        57.    Defendants admit that the Director of Nursing Services was responsible for

performing the duties outlined in the DNS’ job description related to the daily nursing services and

care which can include reviewing patient charts, care plans, and staff assignments and meeting

with other employees on a weekly basis to discuss patients’ health and care plans.          Relator,

however, mischaracterizes Ms. Trofort’s role in providing skilled nursing facility related services.

Defendants deny that skilled nursing facility services at GGNSC Southaven LLC were rendered

almost exclusively by Ms. Trofort.

        58.    Defendants admit that the DNS responsibilities are reflected in the job description

of the Director of Nursing.



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          59.   Defendants deny the allegation in this paragraph.

          60.   Defendants admit that Ms. Trofort did not have a Mississippi nursing license

during the Relevant Time Period. However, to the extent Relator implies that Ms. Trofort was

unauthorized to practice in Mississippi, the allegations are denied. Any remaining allegations are

denied.

          61.   Defendants deny the allegations in this paragraph.

          62.   Defendants admit that Ms. Trofort possessed a multistate nursing license issued by

the State of Virginia. Defendants deny that the license did not authorize Ms. Trofort to practice

nursing in Mississippi during the Relevant Time Period.

          63.   Defendants admit that Virginia and Mississippi are “compact” states that adopted

the nurse licensure compact. Defendants also admit that the nurse licensure compact permits

nurses possessing a valid multistate license issued by their “home state” (i.e., primary residence)

to practice nursing in other jurisdictions, but deny all other assertions in paragraph 63.

          64.   Paragraph 64 contains Relator’s general characterization of Virginia law’s

residency requirements as it pertains to Virginia multistate nursing license. To the extent those

characterizations are based upon statutes or regulations, those statutes or regulations speak for

themselves and are the best evidence of their content. Defendants deny the allegations in the

second sentence.

          65.   Paragraph 65 contains quotations from Virginia Law regarding the renewal process

for nursing licenses, to which no response is required. The statutes and regulations speak for

themselves and are the best evidence of their content.

          66.   Defendants lack knowledge or information sufficient to form a belief as to the truth

of the allegations contained in the first three sentences in this paragraph. The fourth sentence is a



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characterization of law to which no response is required. The underlying State statutes speak for

themselves.

         67.    Defendants lack knowledge or information sufficient to form a belief as to the truth

of the allegations contained in this paragraph. Defendants note that during the renewal process,

Ms. Trofort represented that her primary residence was Virginia.

         68.    Defendants lack knowledge or information sufficient to form a belief as to the truth

of the allegations contained in this paragraph.

         69.    Defendants lack knowledge or information sufficient to form a belief as to the truth

of the allegations contained in this paragraph.

         70.    Defendants deny that Tennessee and Mississippi law prohibited Ms. Trofort from

using her Virginia multistate license to practice nursing in Mississippi while residing in Tennessee

during the Relevant Time Period.          The second sentence is Relator’s characterization and

interpretation of Virginia and Mississippi law, to which no response is required. The statute speaks

for itself and is the best evidence of its content.

         71.    With respect to the first sentence, Defendants deny that Ms. Trofort’s valid

multistate license was no longer sufficient when she began working at the Southaven facility in

Mississippi. Defendants deny that Ms. Trofort had to apply for a new license in Tennessee or

Mississippi.   To the extent that paragraph 71 implies that Defendants knew or recklessly

disregarded Ms. Trofort’s compliance with the law, it is denied. Defendants lack knowledge or

information sufficient to form a belief as to the truth of the allegations contained in the final

sentence of the paragraph.

         72.    Defendants admit that Ms. Trofort practiced under a Virginia multistate license

during the entirety of her employment at Southaven but deny that this practice violated any law.



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Defendants lack sufficient knowledge to know whether Ms. Trofort applied for a Mississippi or

Tennessee license before or during her tenure at Southaven.

         73.   Defendants deny that Ms. Trofort, who possessed a multistate license, was

prohibited by law from practicing nursing in Mississippi during the Relevant Time Period.

Defendants deny the remainder of the allegations in paragraph 73.

         74.   Paragraph 74 is Relator’s characterization of Mississippi Law’s requirements for

nursing facilities to perform criminal history background checks, to which no response is required.

To the extent the characterization is based on statutes and regulations, those statutes and

regulations speak for themselves and are the best evidence of their content.

         75.   Defendants deny the allegations in this paragraph.

         76.   Paragraph 76 summarizes an alleged incident that occurred on November 19, 2008,

involving Ms. Trofort. Defendants lack knowledge or information sufficient to form a belief as to

the truth of the allegations. To the extent that Relator implies that a background check would have

discovered this incident, it is denied.

         77.   Paragraph 77 summarizes an alleged incident that occurred on November 7, 2011,

involving Ms. Trofort. Defendants lack knowledge or information sufficient to form a belief as to

the truth of the allegation. To the extent that Relator implies that a background check would have

discovered this incident, it is denied.

         78.   Paragraph 78 summarizes an alleged incident that occurred on January 31, 2012,

involving Ms. Trofort. Defendants lack knowledge or information sufficient to form a belief as to

the truth of the allegation. To the extent that Relator implies that a background check would have

discovered this incident, it is denied.




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         79.   Paragraph 79 summarizes an alleged incident that occurred on March 8, 2013,

involving Ms. Trofort. Defendants lack knowledge or information sufficient to form a belief as to

the truth of the allegation. To the extent that Relator implies that a background check would have

discovered this incident, it is denied.

         80.   Defendants admit that GGNSC Administrative Services, as part of its services

agreement, supplied information received from GGNSC Southaven to a background check

contractor/processor to perform a criminal history background check on Ms. Trofort that it shared

with GGNSC Southaven. Defendants deny that GGNSC Administrative Services shared the

criminal history background check with GGNSC Clinical Services.            Defendants deny the

remaining allegations in this paragraph.

         81.   Defendants deny the allegations in this paragraph.

         82.   Defendants deny the allegations in this paragraph.         To the extent Relator

characterizes Virginia, Mississippi, and Tennessee law as prohibiting Ms. Trofort from practicing

on her Virginia multistate license, it is denied.

         83.   Defendants deny the allegations in this paragraph.

         84.   Defendants deny the allegations in this paragraph.

         85.   Defendants deny the allegations in this paragraph.

         86.   Defendants deny the allegations in the first three sentences of paragraph 86.

Defendants lack knowledge or information sufficient to form a belief as to the truth of the

allegations contained in this fourth sentence of paragraph 86.

         87.   Defendants deny the allegations in this paragraph.




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          88.   The first sentence of paragraph 88 contains a characterization of law to which no

response is required and the underlying laws speak for themselves and are the best evidence of

their content. Defendants deny the second and third sentences in paragraph 88.

          89.   Defendants deny the allegations in this paragraph.

Defendants’ Continuous Violations of the Provider Agreements and Applicable Laws

          90.   Defendants deny the allegations in this paragraph. Additionally, to the extent that

Relator alleges or implies that Ms. Trofort’s employment continued after March 31, 2014, it is

denied.

          91.   Defendants deny the allegations in this paragraph.

          92.   Paragraph 92 quotes 42 C.F.R. § 483.70(b), to which no response is required. The

regulation speaks for itself and is the best evidence of its content.

          93.   Paragraph 93 quotes 42 C.F.R. § 483.70(f)(2), to which no response is required.

The regulation speaks for itself and is the best evidence of its content.

          94.   Paragraph 94 contains a characterization of law to which no response is required

and the underlying laws speak for themselves and are the best evidence of their content.

          95.   Paragraph 95 quotes the Mississippi Code, to which no response is required. The

statute speaks for itself and is the best evidence of its content.

          96.   Defendants admit that Ms. Trofort practiced as a registered nurse within the

meaning of Mississippi law during her time as Director of Nursing Services at Southaven.

Defendants deny the allegation in the second sentence.

          97.   Paragraph 97 is Relator’s characterization of and quotations from Mississippi law,

to which no response is required, and which speaks for itself and is the best evidence of its content.




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         98.    Defendants deny that Ms. Trofort lacked a valid multistate nursing license during

the Relevant Time Period. Defendants deny the remaining allegations in this paragraph.

         99.    Defendants deny the allegations in this paragraph.

         100. Defendants deny the allegations in this paragraph.

         101. Defendants deny the allegations in this paragraph.

         102. Defendants deny the allegations in this paragraph.

         103. Defendants deny the allegations in the first sentence of this paragraph. With respect

to the second sentence in this paragraph, Defendants deny knowledge or information sufficient to

form a belief as to the truth of the allegations.

         104. Defendants deny the allegations in this paragraph.

         105. Defendants deny the allegations in this paragraph.

         106. Defendants deny the allegations in this paragraph.

         107. Defendants deny the allegations in the first and third sentences of this paragraph.

To the extent the second sentence of paragraph 107 quotes from a form, the language contained on

the form speaks for itself and is the best evidence of its content.

         108. Defendants deny the allegations in this paragraph. To the extent that paragraph 108

contains characterizations of a statute, no response is required. The statute speaks for itself and is

the best evidence of its content.

         109. The allegations in this paragraph are denied.

         110. Defendants deny knowledge or information sufficient to form a belief as to the truth

of the allegations contained in this paragraph. Additionally, the Office of Inspector General

(“OIG”) for HHS website speaks for itself, to which no response is required, and is the best

evidence of its content.



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        111. Defendants deny knowledge or information sufficient to form a belief as to the truth

of the allegations contained in this paragraph. Additionally, the OIG for HHS website speaks for

itself, to which no response is required, and is the best evidence of its content.

        112. Defendants deny the allegations in this paragraph.

                                             COUNTS

                                           COUNT ONE

        113. Defendants restate and incorporate by reference their responses to paragraphs 1

through 112.

        114. Defendants deny the allegations in this paragraph.

        115. Defendants deny the allegations in this paragraph.

        116. Defendants deny the allegations in this paragraph.

        117. Defendants deny the allegations in this paragraph.

                                          COUNT TWO

        118. Defendants restate and incorporate by reference their responses to paragraphs 1

through 117.

        119. Defendants deny the allegations in this paragraph.

        120. Defendants deny the allegations in this paragraph.

        121. Defendants deny the allegations in this paragraph.

        122. Defendants deny the allegations in this paragraph.

        123. Defendants deny the allegations in this paragraph.

                                    PRAYERS FOR RELIEF


       Defendants deny that Relator is entitled to relief and deny the allegations in Relator’s sub-

paragraphs.


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                        DEFENSES AND AFFIRMATIVE DEFENSES

       Defendants allege the following affirmative defenses to the SAC without assuming the

burden of proof where such burden is otherwise on the Relator pursuant to applicable law.

Defendants reserve the right to amend and/or supplement their affirmative defenses and assert

counterclaims as more information becomes known during the course of discovery.

                              FIRST AFFIRMATIVE DEFENSE

       The Relator has failed to state any claim upon which relief may be granted.

                             SECOND AFFIRMATIVE DEFENSE

       The Relator’s claims are barred under the FCA’s public disclosure bar, 31 U.S.C.

§ 3730(e)(4).

                             THIRD AFFIRMATIVE DEFENSE

       Defendants reserve the right to seek their attorneys’ fees and expenses pursuant to 31

U.S.C. § 3730(d)(4), and any other statutory provision or other authority applicable to this case.

                            FOURTH AFFIRMATIVE DEFENSE

       The SAC violates the Fifth, Sixth, and Eighth Amendments of the United States

Constitution to the extent Relator seeks damages and/or penalties above and beyond actual

damages.



        WHEREFORE, Defendants deny each and every allegation in the SAC except as may be

specifically admitted and qualified above and Defendants demand strict proof of the same.




Dated: January 11, 2021                          Respectfully submitted,

                                                 /s/ Margaret Sams Gratz
                                                 Margaret Sams Gratz, Esq. (MSB # 99231)
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                                      Administrative Services LLC; GGNSC
                                      Clinical Services




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                                CERTIFICATE OF SERVICE

        This is to certify that I, Robert Salcido, one of the attorneys for GGNSC Southaven, LLC
individually and on behalf of all Defendants have this day furnished a true and correct copy of the
above and foregoing ANSWER TO PLAINTIFFS’ SECOND AMENDED COMPLAINT to
the following via ECF filing:

       Philip N. Elbert, Esq.
       Lisa P. Binder, Esq.
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       This 11th day of January, 2021.


                                                     /s/ Robert Salcido
                                                         ROBERT SALCIDO




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